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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF FLORIDA
                            FORT MYERS DIVISION

   DANESH NOSHIRVAN a/k/a
   @THATDANESHGUY,

                Plaintiffs,
                                               Civil Case No.: 2:23-cv-01218
         vs.

   JENNIFER COUTURE, et al.,

                Defendants.

     PATRICK TRAINOR’S OPPOSITION TO PLAINTIFF’S MOTION FOR
     OUT-OF-STATE NON-PARTY WITNESSES TO APPEAR REMOTELY

        Patrick Trainor (hereinafter “Trainor”) respectfully opposes Danesh

  Noshirvan’s (“Noshirvan”) Motion for Out-of-State Non-Party Witnesses to Appear

  Remotely. In the federal courts, “there is a decided preference for live testimony in

  open court.” Goines v. Lee Mem’l Health Sys., No. 217CV656FTM29UAM, 2019 WL

  8918734, at *1 (M.D. Fla. May 22, 2019). However, Rule 43(a) of the Federal Rules of

  Civil Procedure “vests discretion with the Court – not the parties – to allow remote

  testimony.” Davis v. Little Giant Ladder Systems, LLC, Case No.: 2-19-cv-00780-SPC-

  NPM, 2022 WL 3924144 at *7 (M.D. Fla. Aug. 31, 2022). At its discretion, a court

  may allow remote testimony for good cause where compelling circumstances have

  been shown and appropriate safeguards can be assured. Fed. R. Civ. P. 43(a).

        Appropriate safeguards that must be in place, include: (a) the ability to

  accurately identify the witness; (b) protections that the witness will not be influenced
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  by others; and (c) accurate transmission of the witness’s testimony. Clowdus v. Am.

  Airlines, Inc., Case No. 1:21-CV-23155-KMM, 2022 WL 6497311, at *3 (S.D. Fla.

  Sept. 21, 2022).

         Noshirvan has not proven good cause nor compelling circumstances to

  warrant remote testimony. Noshirvan’s bad faith motion is rubbish. He failed to

  identify a single potential witness, let alone witnesses. Given Noshirvan’s violent

  and profane interruption of the deposition of Hannah Noshirvan, and subsequent

  coordinated attack against Mr. Jackson-Fannin the Court cannot be assured that the

  unnamed alleged witnesses will be free of influence from either Noshirvan or his

  minions during their remote testimony. See Garramone Plastic Surgery’s Emergency

  Motion for Protective Order at 4-6, D.E. 334.

         In the instant motion, Noshirvan again refused to identify the alleged non-

  party witnesses, nor the substance of their alleged testimony, he simply stated they

  needed to testify remotely to “ease the financial burden and onerous time

  consumption of last-minute travel on out-of-state non-party witnesses.” D.E. 343 at

  2. In Clowdus the Court found good cause and compelling circumstances, where it

  allowed non-citizens to testify remotely, because they could not enter the country

  due to issues with their Visas. Clowdus v. Am. Airlines, Inc., Case No. 1:21-CV-23155-

  KMM, 2022 WL 6497311, at *2-4. Courts in this circuit found good cause existed

  and allowed remote testimony at an evidentiary hearing where COVID-19 restricted

  travel. VMX-Glob. USA, LLC v. Noble Env't Tech, 339 F.R.D. 690 (S.D. Fla. 2021)).


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        Further, Noshirvan failed to set forth the appropriate safeguards that would be

  in place to ensure the accurate and reliable transmission of the alleged witness’s

  testimony. The Courts in this circuit have established that appropriate safeguards

  include, the use of reliable videoconferencing technology and the presence of a

  technology consultant to address technical issues, should any arise, and an attorney

  present to manage exhibits. In re 3M Combat Arms Earplug Products Liability Litigation,

  Case No. 3:19-md-02885, 2021 WL 6327374 at 5-6 (Oct. 28, 2021). Noshirvan

  identified none.

        Since Noshirvan refused to identify his alleged out-of-state witnesses the Court

  cannot find that an in-person appearances present a financial burden. Moreover,

  Noshirvan has known since April 11, 2025, that the hearing was scheduled May 19,

  2025, so his alleged witnesses have had six weeks’ notice, which is not “last-minute.”

  D.E. 343 at 5.

        WHEREFORE, for the reasons stated herein Trainor respectfully requests

  that Noshirvan’s motion be denied.

                                   Respectfully submitted,




  May 5, 2025                      ______________________________
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                              CERTIFICATE OF SERVICE

         I hereby certify that on May 5, 2025, I electronically filed the foregoing with

  the Clerk of the Court by using the CM/ECF system, which will send notice of

  electronic filing to all parties in this action.



  May 5, 2025                        _________________________
                                     Patrick Trainor




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